Case 3:17-cv-00072-NKM-JCH Document 65 Filed 11/01/17 Page 1lof1 Pageid#: 219

COMMONWEALTH OF VIRGINIA
COUNTY OF ALBEMARLE

Elizabeth Sines, Seth Wispelwey, Marissa Blair, Tyler Magill, April Muniz, Hannah
Pearce, Marcus Martin, John Doe, Jane Doe 1, Jane Doe 2, Jane Doe 3
Plaintiff

VS.

Jason Kessler, Richard Spencer, Christopher Cantwell, James Fields Jr, Vanguard
America, Andrew Anglin, Moonbase Holdings, LLC et al
Defendant

I, Fred Kirschnick, Deputy for the County of Albemarle, Virginia, hereby certify that the
following service was made in the above styled case. James Fields Jr was personally served
a Summons, Cover Sheet, Complaint, and Plaintiff's Jury Demand at The Albemarle-
Charlottesville Regional Jail (160 Peregory Ln) in Charlottesville, Virginia on October 24,

2017,
Avec) rca ‘2b. })

Deputy
for J.E. “Chip” Harding, Sheriff

Sworn before me on this date, Oc Aploev’ ay Cay the above

signed Sved VAY “Swale , Deputy for County of Albemarle, Virginia.

Tika Wale #3424550 notary
okey Date

My commission expires Seek Enoen’ BOE

gettting,
«! py YA Mi ge

~~ worary ‘
oe PUBLIC >
REGeTTZ4550 3
YCOUMISSION ;
EXPIRES if?
ES oa7so/z021 SF
Oe, Hee
4,

oo

=

racettrey
a)

©. »

"Hie

.
. J
Seagate

Hane
